Case 2:04-cV-0214O-.]DB-tmp Document 24 Filed 07/13/05 Page 1 of 2 Page|D 33

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IN THE UNITED sTATEs DISTRICT CoURr\\_ED BY ““
FoR THE WESTERN DISTRICT oF TENNESSEE \3 pg 3= \9
WESTERN DrvIsIoN 05 JU\-

CECIL JOHNSON, JR.,

 

Plaintiff,
v. No. 04-2140-B/P
CADILLAC OF MEMPHIS,
CHRIS BLAYLOCK and
GARY BLAYLOCK,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is Defendant Bud Davis Cadillac, Inc. d/b/a Cadillac-Saab of Mernphis’s
Motion for Protective Order filed on July 12, 2005.

This motion is referred to the United States Magistrate Judge for determination. Any
objections to the magistrate judge’s order shall be made Within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objectionsl Failure to timely assign as error a defect in the magistrate judge’s order will
constitute a waiver of that objection. _S§c_ Rule 72(a), Federal Rules of Civil Procedure.

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IT rs so oRl)ERED this 13 day of July, 2005.

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é ll DANIEL BREEN\
D STATES DISTRICT JUDGE
meted on the docket eheet in compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
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Honorable J. Breen
US DISTRICT COURT

